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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

   RICHARD FELTZ,                                     )
   on behalf of himself and                           )
   all others similarly situated,                     )
                                                      )
               Plaintiffs,                            )
                                                      )
   vs.                                                )        Case No. 18-cv-00298-CVE-JFJ
                                                      )
   TULSA COUNTY, et al.                               )
                                                      )
               Defendants.                            )

    RESPONSE AND OBJECTION BY DEFENDANT STATE JUDGES TO PLAINTIFF’S
                     MOTION FOR LEAVE TO RESPOND

           Defendant State Judges William LaFortune, 1 in his official capacity as Presiding Judge,

   and Terry H. Bitting, Tammy Bruce, Martha Rupp Carter, Stephen R. Clark, Theresa Dreiling,

   Owen Evens, James W. Keeley, Deborah Ludi-Leitch, J. Anthony Miller, Dawn Moody, Millie

   Otey, Kirsten Pace, April Siebert, Clifford Smith and Sarah Smith, in their capacity as Special

   Judges, by and through the undersigned counsel, respectfully object to Plaintiff’s Motion for Leave

   [Doc. 244] to file response to Defendant Judge’s notice to the Court of supplemental authority.

   Defendant State Judges provided the Notice of Supplemental Authority for the Court’s

   convenience and without argument. Defendant State Judges do not believe a responsive argument

   is necessary, but should the Court permit Plaintiff to submit a response with argument, Defendant

   State Judges would request an opportunity to reply.




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             Judge LaFortune became presiding judge on January 1, 2020 and was automatically
   substituted for Judge Musseman pursuant to Fed. R. Civ. P. 25(d); however, all references will be
   to Judge Musseman when discussing events that happened between January 1, 2018 and December
   31, 2019 as Judge Musseman was the presiding judge during that time period and the allegations
   in the Amended Complaint refer to his personal actions.
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                                      Respectfully submitted,

                                       s/ Stefanie E. Lawson
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 3rd day of February, 2021, I electronically transmitted the
   foregoing document to the Clerk of Court using the ECF System for filing and I further certify that
   on this date a true and correct copy of the foregoing was served on following who are ECF
   registrants:
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                                                          s/ Stefanie E. Lawson
                                                         Stefanie E. Lawson




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